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                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON


UNITED STATES OF AMERICA,                                   Case No. 6:06-CR-60011


               v.
                                                            GOVERNMENT'S NOTICE OF
                                                            ATTORNEY SUBSTITUTION
JOSEPH DIBEE, ET AL,

                      Defendant.

       The United States of America, by Billy J. Williams, United States Attorney for the District

of Oregon, and Pamela S. Paaso, Assistant United States Attorney, respectfully notifies the Court

that undersigned counsel has been assigned to this matter in place of Assistant United States

Attorney William E. Fitzgerald.

       DATED this 21st day of December 2017.

                                                    Respectfully submitted,

                                                    BILLY J. WILLIAMS
                                                    United States Attorney

                                                    s/ Pamela S. Paaso
                                                    PAMELA S. PAASO
                                                    Assistant United States Attorney
